Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2314 Filed 06/10/24 Page 1 of 36




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,            )
                                      )
                   Plaintiff,         )
                                      )
       v.                             )      Case No. 20-13293
                                      )      Honorable David M. Lawson
 INTERNATIONAL UNION, UNITED          )
 AUTOMOBILE, AEROSPACE, AND           )
 AGRICULTURAL IMPLEMENT               )
 WORKERS OF AMERICA,                  )
                                      )
                   Defendant.         )




                       MONITOR’S NINTH STATUS REPORT
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2315 Filed 06/10/24 Page 2 of 36




                                                     TABLE OF CONTENTS


 INTRODUCTION ...........................................................................................................................1

 I. NON-COOPERATION DURING RECENT IEB INVESTIGATIONS ...................................8

      A. Open Investigations of IEB Members..................................................................................8

      B. The Union’s Lack of Cooperation .....................................................................................10

      C. The Monitor’s Right to Access Union Documents ............................................................13

           1. Consent Decree ............................................................................................................13

           2. Union President’s Memorandum .................................................................................17

           3. Secretary-Treasurer’s Position .....................................................................................18

           4. Rule 502(d) Order ........................................................................................................19

           5. Common Interest Agreement .......................................................................................20

           6. DOJ’s Position .............................................................................................................20

           7. Past Practice .................................................................................................................21

 II. ADDITIONAL INVESTIGATIVE ACTIVITIES ..................................................................23

      A. Investigations of Alleged Misconduct Predating the Consent Decree...............................23

           1. Disciplinary Action Taken ...........................................................................................24

           2. Referral to Ethics Officer .............................................................................................27

           3. Matters Closed Without Action ...................................................................................27

      B. Post-Consent Decree Investigations ..................................................................................28

      C. Investigative Tools .............................................................................................................29

      D. Other ..................................................................................................................................31




                                                                         i
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2316 Filed 06/10/24 Page 3 of 36




        Pursuant to Paragraph 58 of the Consent Decree (Dkt. No. 10), the Court-appointed

 Monitor, Neil M. Barofsky, respectfully submits to the Court this ninth status report (“Ninth

 Report”) concerning the monitorship of the International Union, United Automobile, Aerospace,

 and Agricultural Implement Workers of America (the “Union” or the “UAW”).

                                        INTRODUCTION

        Following a U.S. Department of Justice (“DOJ”) investigation that resulted in the criminal

 convictions of numerous senior Union officials, including two past Presidents, the UAW agreed
                                                                                       1
 to a Consent Decree and the appointment of a Monitor beginning on May 12, 2021. Under that

 decree, the Monitor was given three responsibilities: (1) to help the UAW ensure that its

 compliance regime can prevent and remove fraud and corruption; (2) to investigate and address

 suspected past and present misconduct; and (3) to administer a referendum vote to decide the

 manner in which the Union would choose its senior-most leaders, implement any change arising

 from that referendum, and oversee the Union’s elections of its International Executive Board

 (“IEB”) members during the monitorship.

        This Ninth Report summarizes the first three years of the Monitor’s investigative work,

 including the recent lapse in the UAW’s cooperation with the Monitor as it pertains to the Union’s

 top-ranked officials. As described below, shortly after the issuance of the Monitor’s Third Report

 on July 19, 2022, and until recently, the Union was cooperative with the Monitor’s investigative

 work, which largely involved lower-level officials, Local Unions, or more senior officials from

 prior administrations. In these matters, the Union provided responsive documents as necessary,




 1
  Consent Decree, United States v. Int’l Union, United Auto., Aerospace & Agric. Implement Workers of
 Am. (Jan. 29, 2021), Civil No. 20-cv-13293, ECF No. 10 (“Consent Decree”); Order Granting Unopposed
 Motion to Appoint Monitor, United States v. Int’l Union, United Auto., Aerospace & Agric. Implement
 Workers of Am. (May 12, 2021), Civil No. 20-cv-13293, ECF No 34.

                                                  1
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2317 Filed 06/10/24 Page 4 of 36




 explicitly recognizing as recently as December 2023 that because the Monitor “stands precisely in

 the shoes of the Union” itself, the Union should “share any and all information requested,”
                                    2
 including privileged materials.        Details concerning those investigations are included in this

 Report.

           Before providing those details, however, the Report first discusses the current status of the

 Union’s level of cooperation, which started to erode in February 2024, after the Monitor began

 investigating current members of the IEB—including the President, Secretary-Treasurer, and one

 of the Union’s Regional Directors.

           The Union’s Recent Non-Cooperation with the Monitor

           In February 2024, the Union’s IEB passed a motion “in support of [the President]

 withdrawing all of the field assignments assigned to the Secretary-Treasurer” that were not

 constitutionally required to be within her remit and made certain other policy changes in response

 to allegations that the Secretary-Treasurer had engaged in misconduct while carrying out her
                                        3
 financial oversight responsibilities. In response, the Secretary-Treasurer lodged allegations of her

 own against the Union’s President that, among other things, the charges against her were false,

 and that the removal of her authority was improperly instigated in retaliation for her refusal or

 reluctance to authorize certain expenditures of funds at the request of and/or for the benefit of those

 in the President’s Office—and to dilute her power to make similar denials in the future—not in

 response to any malfeasance on her part.




 2
   Memorandum from International President to All UAW Personnel at 3 (Aug. 23, 2023) (“August 2023
 Cooperation Memo”); Memorandum from International President to All UAW Personnel at 3 (Dec. 6,
 2023) (“December 2023 Cooperation Memo”).
 3
   IEB Meeting (Feb. 20, 2024).

                                                    2
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2318 Filed 06/10/24 Page 5 of 36




        The countervailing claims between the President and Secretary-Treasurer soon became

 public and the Monitor opened an investigation to ensure that they were quickly and thoroughly

 vetted. More recently, the Monitor expanded this investigation to include additional allegations

 of retaliation by the President against one of the Union’s Vice Presidents, explained further below.

 Separately, in April 2024, the Monitor opened an unrelated investigation into another IEB member,

 a Regional Director, after receiving allegations of potential embezzlement.

        Given the seriousness of the allegations and the high level of concern that the Monitor

 witnessed throughout the Union as a result of them, the Monitor sought to act quickly, with a goal

 of promptly determining the truth and bringing closure to the open allegations. Although the Union

 has cooperated in making UAW employees and senior leaders available to be interviewed by the

 Monitor’s investigative team, the Union has not cooperated in producing documents that are

 relevant to the investigation in a complete and timely manner, instead requiring the Monitor to

 conduct those interviews without the benefit of the full production of potentially relevant and

 contemporaneous documents.

        The Monitor has attempted for months to garner the Union’s cooperation in gathering the

 information needed to conduct a full investigation, but the Union has effectively slow-rolled the
                                              4
 Monitor’s access to requested documents.         The Union has justified its delays by advancing
                                                                                             5
 arguments about privilege that had previously been rejected by the Monitor and DOJ, and by

 claiming that it can only produce documents requested by the Monitor after an unspecified time

 period for the Union to first review the documents itself, so that it may then potentially identify


 4
   As noted below, the Union has produced a relatively small number of documents, most of which were
 produced last week and after the Union had received an initial draft of the Report.
 5
   See Monitor’s Third Status Report, United States v. Int’l Union, United Auto., Aerospace & Agric.
 Implement Workers of Am. (July 19, 2022), Civil No. 20-cv-13293, ECF No. 77 at 12-13 (“Monitor’s Third
 Status Report”).

                                                   3
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2319 Filed 06/10/24 Page 6 of 36



                                                                                                    6
 and withhold certain documents for privilege and confidentiality “on a case-by-case basis.” As

 of the date of this Report, more than three months after the Monitor’s initial document request, the

 Union has produced a very small portion (approximately 2,600 documents) of the current

 potentially relevant pool of approximately 116,000—and with more than 80% of those documents

 only produced on June 6, 2024, days before the issuance of this Report. There has been a similar

 lack of production for the Monitor’s embezzlement investigation into one of the Union’s Regional

 Directors.

           The Union’s arguments for delaying, and potentially denying, the Monitor’s access to

 documents marks a shift in its position on cooperation. As noted above, in both August and

 December 2023, just months before the Monitor’s investigation was open, the Union’s President

 issued a memorandum to all staff that cannot be squared with the arguments the Union is now

 relying on to justify its delay of the Monitor’s work. In the memorandum, the Union President

 noted that Monitor inquiries should be answered “without hesitation” and stated that the Union

 “will share any and all information requested” with the Monitor—without concern about

 privilege—both because the Monitor “stands precisely in the shoes of the Union” for the purposes
                                                                                                7
 of investigating misconduct and because “the Monitor will protect all available privileges.”

           The President’s previously issued statement reflects the long-standing position of the

 Monitor and DOJ, as well as the plain intent of the Consent Decree, which provides that the

 Monitor has the “right and authority of the UAW International President and IEB” to bring

 investigative charges and operates with the “powers and privileges” of a Rule 66 receiver. It also

 reflects that any perceived risk of waiver to the Union for sharing materials with the Monitor was



 6
     Email from UAW General Counsel to Monitor (May 22, 2024).
 7
     August 2023 Cooperation Memo at 3; December 2023 Cooperation Memo at 1, 3.

                                                   4
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2320 Filed 06/10/24 Page 7 of 36




 mooted early in the monitorship when the Union moved the Court and received a Rule 502(d)

 Order protecting the privilege, and also entered into a common interest agreement with the
            8
 Monitor.

        Despite this record, the UAW has argued that it was not the Union but the Monitor who

 has changed his position, asserting, among other things, that the Montor’s position on privilege
                                      9
 was raised for the “first time ever” with respect to the current investigations. But, as detailed

 below, the Monitor’s position on privilege long predates the current investigation. Most notably,

 in August 2022—well before the instant investigation was opened—the Monitor sought, and

 obtained, privileged materials from the Union in connection with an investigation into the former

 President and others from the prior administration, and offered the very same bases for the

 Monitor’s access to privileged documents as set forth in this Report. DOJ has similarly rejected

 the Union’s argument that the Monitor’s position has changed in the current matter, explaining to

 the Union that “the Monitor has been wholly consistent over time that, when acting in his

 disciplinary/investigative capacity, he stands inside the union’s privilege and enjoys all of the
                                                           10
 rights and authorities of the IEB and Union President.”

        With more than three months having passed since the inception of the Monitor’s

 investigation, and only a small fraction of the requested documents produced, the Monitor’s

 assessment is that the Union’s delay of relevant documents is obstructing and interfering with his

 access to information needed for his investigative work, and, if left unaddressed, is an apparent

 violation of the Consent Decree. DOJ similarly informed the Monitor that it believes that “[t]he

 Union’s position is making it difficult, if not impossible, for the Monitor to fulfill his mandate to


 8
   See infra Part I(C).
 9
   Email from UAW General Counsel to Monitor (June 7, 2024)
 10
    Email from DOJ to UAW General Counsel (June 7, 2024).

                                                  5
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2321 Filed 06/10/24 Page 8 of 36




 remove fraud, corruption and illegality from within the UAW as required by Paragraph 22 of the
                      11
 Consent Decree.”          Notably, the Union’s Secretary-Treasurer has also disavowed the Union’s

 current position as non-cooperative and inconsistent with her own direction to Union staff to fully
              12
 cooperate.

           None of this should be read to mean that the Monitor does not acknowledge or respect the

 importance of privilege, as he has since the inception of this monitorship. Indeed, out of respect

 for the sanctity of privilege, the Monitor has repeatedly agreed to steps that could help assure the

 Union that production of privileged materials would not result in waiver of privilege, and has

 sought to work with the Union to obtain information in a manner that is cooperative, efficient, and

 meets the needs of his mandate under the Consent Decree. Unfortunately, those efforts at

 cooperation have not succeeded with regard to the current investigations, which continue to drag

 on. If the Monitor cannot resolve this logjam through cooperation and negotiation with the Union

 in the coming weeks, the Monitor may need to seek intervention from the Court to enforce the

 Consent Decree.

           The Monitor’s Other Investigative Work

           Details of the Monitor’s other investigative work during the first half of this monitorship

 are also described in this Report. As detailed further below, under the Consent Decree, the Monitor

 has the responsibility to investigate and address suspected misconduct at the Union, including past

 misconduct that may have not yet been addressed by DOJ’s criminal prosecutions, as well as

 misconduct that occurs during the monitorship. As detailed below, for past misconduct, the

 Monitor has concluded his work, completing 20 investigations into potential misconduct prior to



 11
      Email from DOJ to Monitor (June 6, 2024).
 12
      See infra Part I(B).

                                                    6
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2322 Filed 06/10/24 Page 9 of 36




 the Consent Decree, and, of those, pursuing discipline in five matters, referring one matter to the

 Union’s Ethics Officer, and closing or seeking more limited relief for the remainder. For suspected

 misconduct during the monitorship, the Monitor has opened 24 investigations and several remain
                                                                                                        13
 open and active as of this Ninth Report. Further details concerning these activities are below.

                                                    ***

         A report addressing the compliance-related aspects of the Monitor’s activities will be filed

 shortly, along with an update on the Monitor’s election-related activities.




 13
    The Monitor provided a first draft of this Report to the Union, through its General Counsel and
 Compliance Director, copying outside counsel, on May 10, 2024, and requesting the Union’s feedback.
 That draft included a paragraph about the Monitor’s conclusion, based on information to that point, that the
 Union had not cooperated with the Monitor’s investigation based on its reliance on previously discredited
 claims of privilege to delay its production of documents. In the ensuing weeks, the Union took a series of
 positions disputing the Monitor’s conclusion about the Union’s cooperation. This Report responds to those
 arguments throughout and also provides more detail about this issue than the original draft, in order to
 provide further context in which to explain the Monitor’s non-cooperation conclusion. In addition, this
 Report also references the ways in which the Union has been cooperative since receiving the initial draft,
 such as continuing to schedule interviews, producing additional documents, and hiring outside vendors. It
 also includes information to the extent it was feasible for the period through June 7, 2024.

                                                      7
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2323 Filed 06/10/24 Page 10 of 36




  I.     NON-COOPERATION DURING RECENT IEB INVESTIGATIONS

         The Consent Decree directs the Monitor to investigate certain types of suspected
                                                                                    14
  misconduct at the Union and pursue disciplinary remedies if warranted.                 As noted above, the

  Union’s level of cooperation with the Monitor’s work under that mandate began to erode in

  February 2024, after the Monitor began investigating three current members of the IEB—the

  President, the Secretary-Treasurer, and one of the Regional Directors. Included below is a

  description of the circumstances surrounding the Monitor’s current investigations into those IEB

  members and the actions that the UAW has taken to delay or potentially deny the Monitor the

  access to information needed to resolve them.

         A.      Open Investigations of IEB Members

         In February 2024, the Union’s IEB passed a motion “in support of [the President]

  withdrawing all of the field assignments assigned to the Secretary-Treasurer” that were not

  constitutionally required to be within her remit and made certain other policy changes in response

  to allegations that the Secretary-Treasurer had engaged in misconduct while carrying out her
                                          15
  financial oversight responsibilities.        The stated basis for those allegations was that the Secretary-

  Treasurer had abused her authority by improperly delaying and denying financial expense requests

  by the President’s Office and certain IEB members, and allegedly threatened to deny legitimate

  expense requests if IEB members did not vote in favor of her priorities.

         In response, the Secretary-Treasurer, and others, lodged allegations against the Union’s

  President that, among other things, those IEB actions were improperly instigated in retaliation for



  14
     See Monitor’s Initial Status Report, United States v. Int’l Union, United Auto., Aerospace & Agric.
  Implement Workers of Am. (Nov. 11, 2021), Civil No. 20-cv-13293, ECF No. 49 at 143-46 (“Monitor’s
  Initial Status Report”); Monitor’s Third Status Report at 7.
  15
     IEB Meeting (Feb. 20, 2024).

                                                         8
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2324 Filed 06/10/24 Page 11 of 36




  her refusal or reluctance to authorize certain expenditures of funds at the request of and/or for the

  benefit of those in the President’s Office—and to dilute her power to make similar denials in the

  future—not in response to any malfeasance on her part.

                Based on allegations made by various complainants concerning these issues, and because

  both sets of allegations involved financial misconduct, in late February 2024 the Monitor opened

  an investigation into the actions of both the President and Secretary-Treasurer. The Monitor hoped

  to resolve an investigation into these allegations promptly, given the serious nature of the claims

  being leveled between the Union’s two most senior officials—claims that, according to reports

  received by the Monitor, were causing divisions and negatively impacting morale among Union
           16
  staff.        A prompt investigation was also necessary as its results could potentially warrant reversal

  of the significant structural changes associated with the reassignment of nine departments overseen

  by the Secretary-Treasurer.

                A few months later, the Monitor expanded this investigation to include allegations

  advanced against the Union’s President by another IEB member: the Vice President who had been

  overseeing the Union’s relationship with Stellantis. On May 29, 2024, the President removed the

  Stellantis Department from that Vice President’s oversight and reassigned it under his own control.

  For support, the Union President issued a memorandum asserting this action was taken because of

  that Vice President’s “dereliction of duty” in connection with certain collective bargaining

  issues. Shortly thereafter, the Monitor received allegations from the Vice President and other

  Union staff that the explanation in the President’s memorandum was pretextual and false, and that




  16
    The Monitor will report further about the impact of these divisions within the Union in a report concerning
  his compliance mandate that is anticipated to be filed shortly.

                                                        9
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2325 Filed 06/10/24 Page 12 of 36




  the President removed the Vice President’s assignment as retaliation against him for, among other

  things, refusing to engage in acts of financial misconduct to benefit others.

         In addition to these investigations, in April 2024 the Monitor separately opened an

  investigation into another IEB member, a Regional Director, involving allegations of

  embezzlement.

         At this stage, it is important to emphasize that the allegations are just allegations. They

  prove nothing in themselves, and nothing in this Report should be construed as reaching any

  conclusion about possible charges, if any, for suspected misconduct.

         B.      The Union’s Lack of Cooperation

         The Union has partially cooperated in these investigations, but has also put up roadblocks

  that are interfering with the Monitor’s ability to promptly and credibly conduct them.

         With regard to scheduling interviews of Union witnesses, the Union has cooperated with

  the Monitor’s work, scheduling numerous interviews of Union personnel, including senior Union
                                                            17
  officials. With one exception, which has been resolved, the witnesses have been cooperative and

  have answered all of the Monitor’s questions.

         But those interviews have been conducted without the benefit of a full document

  production that would potentially allow the Monitor to test, challenge, or verify the assertions

  made by witnesses during questioning.         That is because, with regard to the production of

  documents, the Union has not cooperated to the necessary degree, delaying its production to a pace
                                                                                  18
  that the Union’s Secretary-Treasurer has called a “lack of cooperation”              and which DOJ
                                     19
  characterized as “unacceptable.”


  17
     See infra n.40.
  18
     Secretary-Treasurer, Comments to June 2024 Draft Monitor Report at 2.
  19
     Email from DOJ to UAW General Counsel (June 7, 2024).

                                                   10
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2326 Filed 06/10/24 Page 13 of 36




          Specifically, at the end of February 2024, after learning of the competing allegations

  described above, the Monitor requested documents from the UAW General Counsel that would
                                                       20
  enable the Monitor to conduct an investigation.           But the Union has still not fully complied with

  the Monitor’s document requests. By early April 2024, the Union had produced just 18 documents.

  To assist in speeding the pace of production, the Monitor provided the UAW with a list of search

  terms and custodians to facilitate the production of electronic documents, and directed the UAW

  to provide all documents hitting on those terms so the Monitor’s investigative team could review
                                                                                               21
  the identified materials, as a more efficient way of obtaining the needed documents.

          In response, the UAW took the position that the Monitor was not entitled to access the

  Union’s electronic records without first providing the Union with the “ability to review documents
                                                                                                             22
  that are protected by the attorney-client privilege or concerning collective bargaining strategy.”

  The Union indicated that it would need to perform this review to “screen the data for documents

  that we may want to designate as privileged and confidential,” and that the UAW’s “intention is

  to designate [as privileged] and produce all of it with some exceptions that we may have to address
                              23
  on a case-by-case basis.”




  20
     Letter from Monitor to UAW (Feb. 29, 2024). The Union’s General Counsel oversaw the Union’s
  interaction with the Monitor concerning the investigation and the Union’s response to a draft of this Report.
  21
     The search terms for the investigation involving allegations against the President and Secretary-Treasurer
  initially brought back a list of approximately 59,000 documents; the Monitor later updated the search terms
  in response to ongoing investigative work, which the Union said resulted in approximately 158,000
  document hits. After the Union hired outside counsel and a vendor, the Union indicated that the search
  terms actually generated over 200,000 hits including families. The Monitor then revised certain search
  terms in an effort to tailor the results, which lowered the population to 116,646 hits including families.
            The Monitor also requested documents concerning the embezzlement investigation noted above,
  and the UAW proposed search terms to facilitate document production. The search terms for that
  investigation generated approximately 8,000 hits. No documents from that search have been produced.
  22
     Email from UAW General Counsel to Monitor (May 22, 2024).
  23
     Email from UAW General Counsel to Monitor (May 22, 2024).

                                                       11
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2327 Filed 06/10/24 Page 14 of 36




         Although the Monitor told the Union that he had no objection to it reviewing the

  documents, the Monitor pushed back on the substance of the Union’s privilege position (as detailed

  further below); and, just as importantly, the Monitor emphasized that, because he was entitled to

  prompt access to all documents irrespective of privilege, a lengthy pre-production review would
                                          24
  unacceptably delay the investigation.        On May 18, 2024—two and a half months after the

  Monitor’s initial document request—the UAW informed the Monitor that it had retained outside
                                                                25
  counsel to assist in reviewing and producing the documents.        On May 23, the UAW informed the
                                                                         26
  Monitor that it had retained an electronic discovery vendor as well.

         Throughout this process—and recognizing that the most efficient process initially

  requested had been rejected by the Union—the Monitor has made various efforts to work

  cooperatively with the Union to obtain the needed documents. Among other things, the Monitor

  requested detailed hit counts to understand which of the terms were driving the volume and

  expressed willingness to consider modifications of terms as appropriate; suggested that the Union

  prioritize the production of documents responsive to a few of the search terms that generated low

  hit counts, and then produce documents on a rolling basis thereafter; and informed the Union that

  he had no objection to the Union conducting a parallel review of the documents after producing

  them to the Monitor, during which it could identify which documents it believed were privileged
                                                                                      27
  and confidential and therefore could designate them as protected from disclosure.        Most recently,

  the Monitor also revised certain search terms related to the investigations into the President and




  24
     Email from Monitor to UAW Associate General Counsel (May 10, 2024); Meeting with UAW General
  Counsel (Apr. 30, 2024); Meeting with UAW General Counsel (May 1, 2024).
  25
     Email from UAW Associate General Counsel to Monitor (May 18, 2024).
  26
     Email from UAW Associate General Counsel to Monitor (May 23, 2024).
  27
     Emails from Monitor to UAW Associate General Counsel (May 8, 10, 15, 2024).

                                                   12
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2328 Filed 06/10/24 Page 15 of 36




  Secretary-Treasurer that reduced the total number of document hits requested by approximately
         28
  40%.        These proposals have had only limited success. As of the date of this Report, the Union

  has produced approximately 2,600 of the 116,000 potentially responsive documents. Almost all
                                                                         29
  of these documents (over 2,100) were produced on June 6, 2024.

              C.     The Monitor’s Right to Access Union Documents

              For numerous reasons, detailed further below, the Monitor has concluded that the Union’s

  privilege and confidentiality positions—both to delay its production of documents to the Monitor,

  and potentially to shield information entirely—are without merit and have been preventing the

  Monitor from carrying out his work under the Consent Decree.

                     1.     Consent Decree

              The Consent Decree requires the Union to provide the Monitor with full access to the

  requested documents.

              The Consent Decree gives the Monitor “the authority and duty to remove fraud, corruption,
                                                                                                           30
  illegal behavior, dishonesty, and unethical practices from the UAW and its constituent entities.”

  In aid of that mandate, the Monitor has the “right and authority of the UAW International President

  and IEB to bring charges seeking to discipline” UAW members and personnel for, among other
                                                                              31
  things, violating criminal laws relating to the operation of a Union.            That authority to charge

  inherently includes the same access to the records of the Union as the President or the IEB,

  including records over which the Union itself might assert a privilege against disclosure to




  28
     Email from UAW Outside Counsel to Monitor (June 5, 2024).
  29
     In the investigation involving allegations against the Regional Director, the Union has produced just 42
  documents and no documents based on search terms.
  30
     Consent Decree ¶ 28.
  31
     Consent Decree ¶¶ 29-30, 36.

                                                      13
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2329 Filed 06/10/24 Page 16 of 36



               32
  outsiders.        In other words, when it comes to investigations, the Consent Decree provides that the

  Monitor is no outsider: just as the President or the IEB has the right to view such records of the

  Union when investigating potential misconduct, so too can the Monitor standing in their shoes.

          Further illuminating the broad intent of this provision to vest the Monitor with the authority

  of the President and IEB when the Monitor is exercising his investigative and charging authority,

  the Consent Decree also confers upon the Monitor “all of the powers, privileges and immunities

  of a person appointed pursuant to Rule 66 of the Federal Rules of Civil Procedure and which are
                                                                                     33
  customary for court appointed offices [sic] performing similar assignments.”            With the “powers

  and privileges” of a Rule 66 receiver, the Monitor has access to all records of the Union, including

  privileged records. Indeed, Courts have repeatedly held that those with receiver authority have

  this power because they can “take any action which could be taken by the officers, directors,

  partners, members and trustees” of the business. 34 Courts have also found that those with such

  receiver authority can waive or assert privilege and work product. 35 Thus, with the “powers,


  32
     Under Article 32 of the UAW Constitution, the IEB has the power to investigate a complaint, which
  inherently includes access to books and records of the Union. See UAW Const. art. 32, § 5 (explaining that
  the IEB “shall have the initial responsibility for investigating” complaints received by the Public Review
  Board alleging, among other things, violations of the UAW Ethical Practices Code by International officers
  and staff).
  33
     Consent Decree ¶ 27.
  34
     United States v. Beckman, No. CRIM. 11-228, 2012 WL 1342813, at *2 (D. Minn. Apr. 18, 2012); see
  also United States v. Cohen, No. CR. WDQ-14-0310, 2015 WL 2261661, at *19 (D. Md. May 7, 2015),
  aff'd in part, appeal dismissed in part, 888 F.3d 667 (4th Cir. 2018); S.E.C. v. Ryan, 747 F.Supp.2d 355,
  362 (N.D.N.Y. 2010); CFTC v. Cap. Blu Mgmt., LLC, No. 110CV02029WSDGGB, 2010 WL 11508355,
  at *3 (N.D. Ga. July 26, 2010) (citing United States v. Shapiro, No. 06 Cr. 357(KMW)(FM), 2007 WL
  2914218, at *5-6 (S.D.N.Y. Oct. 1, 2007)).
  35
     See, e.g., MFS & Co., LLC v. Caterpillar, Inc., No. 09-14063, 2010 WL 11549935, at *4 (E.D. Mich.
  Sept. 20, 2010); Burkett v. Hyman Lippitt, P.C., No. 05-CV-72110-DT, 2006 WL 6651035, at *4 (E.D.
  Mich. May 24, 2006); Sec. & Exch. Comm'n v. GPB Cap. Holdings, LLC, No. 21CV583MKBVMS, 2023
  WL 8468467, at *17-18 (E.D.N.Y. Dec. 7, 2023); Lightfoot v. Miss Lou Properties, Inc., No. CIV.A. 05-
  3776-PB-SS, 2006 WL 4029569, at *6 (E.D. La. Sept. 1, 2006), subsequently aff'd sub nom. Nat'l Bus.
  Consultants Inc. v. Lightfoot, 292 F. App'x 298 (5th Cir. 2008); Grassmueck v. Ogden Murphy Wallace,
  P.L.L.C., 213 F.R.D. 567, 572 (W.D. Wash. 2003); Woodson v. Am. Transit Ins. Co., 280 A.D.2d 328, 328
  (N.Y. App. Div. 2001).

                                                       14
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2330 Filed 06/10/24 Page 17 of 36




  privileges and immunities” of a receiver over the Union, the Monitor has the same ability to access

  privileged material as Union leaders when exercising his investigative mandate.

          This conclusion makes common sense. The Consent Decree must allow the Monitor to

  access all documents when the Monitor acts in his investigative role, including those that are

  privileged, otherwise the Union would be able to shield documents from the Monitor’s view in

  any investigation involving counsel, or by involving lawyers to frustrate the investigation. That

  would be particularly true with respect to the President of the UAW, since the Union’s Legal

  Department reports directly to the President and is part of the President’s Office. Indeed, the

  Consent Decree gave the Monitor this authority because DOJ did not trust the Union to investigate

  its senior-most officers on its own, as many of those leaders, including two prior Presidents, had

  just been convicted of felonies. To defer to the President’s Office the decision about what

  documents the Monitor could see or not see when conducting an investigation would contradict

  the letter and the spirit of the Consent Decree.

          The Union has argued that it can withhold documents as privileged from the Monitor based
                                              36
  on Paragraph 55 of the Consent Decree.           But the plain language of that provision only pertains

  to the Monitor’s attendance at IEB meetings:

          The Monitor shall have the right to be notified of and attend all meetings of the IEB
          and the authority to distribute information to the membership of the UAW about
          the activities of the Officers or his/her/their designated representatives. The
          Monitor shall not be entitled to attend or listen to meetings or portions of
          meetings protected by the attorney-client privilege or concerning collective
          bargaining strategy. The Monitor shall keep confidential any information learned



  36
    The Union’s privilege concern has focused on documents relating to the General Counsel’s preparation
  of its response to the Monitor’s February 2024 document request. Although for the reasons provided herein,
  the Monitor is entitled to have access to those documents, the Monitor has told the Union that his
  investigative team is not interested in them and that the Monitor would use search terms to screen and
  segregate those documents from review. This offer was rejected, as was the Monitor’s attempt to determine
  what other documents the Union contemplates withholding.

                                                       15
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2331 Filed 06/10/24 Page 18 of 36




          during IEB meetings, except as may be necessary to carry out of [sic] his, her, or
                                               37
          their functions as set forth herein.

          This provision pertains solely to when the Monitor attends an IEB meeting—which he does

  as an observer—and not in the investigative context, where he stands in the shoes of the President

  and IEB. The IEB’s ability to conduct a portion of an IEB meeting without the presence of the

  Monitor in which they receive legal advice or discuss collective bargaining does not enable the

  Union to broadly protect other communications or documents, outside that context, from his

  review during the course of an investigation. If that was the intent of the parties when drafting the

  Consent Decree, they would have simply said so, and not limited these restrictions to IEB
              38
  meetings.

          Further, the context in which the Consent Decree was formed also makes clear that the

  Union’s position on a “collective bargaining” privilege is irreconcilable with the intent of the

  Consent Decree. Part of the government’s investigation leading up to the Consent Decree involved

  allegations of corrupt payments made by Fiat Chrysler Automobiles United States of America LLC
                                                                               39
  to senior Union officials in order to undermine collective bargaining.            With that investigation as



  37
     See Consent Decree ¶ 55 (emphasis added).
  38
     See Consent Decree ¶¶ 29-30, 36. The Union has also argued that the Monitor’s power is limited to
  charging misconduct, but does not extend to investigating suspected misconduct in aid of potential charges.
  But the power to investigate is inherent in the power to charge, and it would make no sense for the Consent
  Decree to give the Monitor the charging responsibility without the authority to access the information
  needed to determine whether charges are warranted in the first place. Indeed, in the three years of the
  monitorship, the Union never previously suggested the Monitor had no power to investigate suspected
  misconduct in aid of his charging decision or prior to bringing charges, including when it sought a 502(d)
  Order from the Court, noted below. The Union has also taken the position that, pursuant to Paragraph 41
  of the Consent Decree, it is entitled to assert privilege in the “later stages” of the investigation and
  disciplinary process. That provision, however, only applies to the potential attorney-client privileges of an
  individual “who is the subject of a disciplinary charge.” It does not apply to the attorney-client privilege
  of the Union itself.
  39
     Monitor’s Initial Status Report at 32-39; Press Release, FCA US LLC Charged for Making Illegal
  Payments to UAW Officials (Jan. 27, 2021), available at https://www.justice.gov/usao-edmi/pr/fca-us-llc-
  charged-making-illegal-payments-uaw-officials.

                                                       16
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2332 Filed 06/10/24 Page 19 of 36




  part of the backdrop to the Consent Decree, it would frustrate the intent of the decree for this

  provision to shield collective bargaining entirely from the Monitor’s purview—i.e., one of the

  areas of activity that led to the investigation that resulted in the Consent Decree. Moreover, given

  that the core business of the UAW is collective bargaining, the Union’s reading of the Consent

  Decree would effectively bar any investigation by the Monitor into financial misconduct relating

  to a significant portion of the Union’s activities.

          A portion of the current investigation is illustrative. It would be impossible to test the

  proffered justification for removing the Stellantis Department from the Vice President’s oversight

  without testing the President’s proffered collective bargaining justification for doing so. To carve

  out from the Monitor’s investigation documents that pertain to what will likely be a determinative

  issue in these investigations cannot be reconciled with the language and intent of the Consent
            40
  Decree.

                  2.      Union President’s Memorandum

          A recent memorandum from the Union’s President supports the Monitor’s position on

  privilege. In a memorandum to all staff regarding “Cooperation with the Monitor” that was sent

  both in August 2023 and December 2023, the UAW President acknowledged that “[f]or years the

  UAW has proven itself incapable of monitoring itself in making sure that its leadership did not
                                 41
  engage in criminal conduct.”        As a result, the President “instruct[ed] All Staff to cooperate fully



  40
     During a recent interview of a Union witness concerning these allegations, the UAW invoked a
  “collective bargaining” privilege and on this basis the witness did not answer certain questions. After the
  Monitor later explained to the General Counsel that he would need to publicly identify this incident as an
  example of the UAW’s apparent violation of the Consent Decree by rendering investigation into the Vice
  President’s allegations impossible, the UAW agreed to make the witness available for an additional
  interview to cover these topics. Email from UAW General Counsel to Monitor (June 3, 2024). Even so,
  the UAW has not abandoned its position that it has such a collective bargaining privilege, and so may still
  withhold responsive documents. Email from UAW General Counsel to Monitor (June 7, 2024).
  41
     August 2023 Cooperation Memo at 2; December 2023 Cooperation Memo at 2.

                                                      17
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2333 Filed 06/10/24 Page 20 of 36




  with the Monitor in all regards as it regards financial impropriety, corruption, and internal union
                               42
  election-related matters.”        The President further emphasized the need for that cooperation to be

  prompt, explaining that after receiving an inquiry from the Monitor, staff were permitted to report

  that inquiry to the General Counsel, but noted that “advising the General Counsel should not be an
                                                                        43
  excuse to delay full and complete cooperation with the Monitor.”

         The President’s memorandum acknowledged that when conducting investigations, the

  Monitor “stands precisely in the shoes” of the UAW when it comes to privileged documents:

         One of the serious issues I considered in making this directive is concerns about
         privilege, in other words, how can we safely share information with the Monitor
         and protect the various privileges we have available. This concern is completely
         resolved by an agreement reached between the President’s Office and the
         Monitor that the Union will share any and all information requested based upon
         the understanding that the Monitor stands precisely in the shoes of the Union,
                                                                     44
         and that the Monitor will protect all available privileges.

         As a result, the memorandum provided that: “[g]iven the protection of the privilege as well

  as the Court-Ordered mandates of the Consent Decree, there is no reason or basis for any member

  of the staff or leadership of this Union not to abide by this directive to be fully cooperative with
                  45
  the Monitor.”

                   3.    Secretary-Treasurer’s Position

         The Union’s Secretary-Treasurer has also expressed concern about the Union’s current

  level of cooperation. After the Monitor shared an initial draft of this Report with the Union, the

  Union’s Secretary-Treasurer contacted the Monitor to provide feedback that contradicted the

  position the Union has taken through its General Counsel. In those comments, the Secretary-


  42
     August 2023 Cooperation Memo at 1; December 2023 Cooperation Memo at 1.
  43
     August 2023 Cooperation Memo at 1; December 2023 Cooperation Memo at 1.
  44
     August 2023 Cooperation Memo at 3 (emphasis added); December 2023 Cooperation Memo at 3
  (emphasis added).
  45
     August 2023 Cooperation Memo at 3; December 2023 Cooperation Memo at 3.

                                                      18
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2334 Filed 06/10/24 Page 21 of 36




  Treasurer stated that she opposed a request that had been made by the Union’s General Counsel to

  remove the references to the Union’s non-cooperation in the Monitor’s Report. She further stated

  that, as Secretary-Treasurer, she had “exercised my Constitutional authority as Secretary-Treasurer

  to instruct the UAW’s General Counsel to fully cooperate with the Monitor in his investigation.

  To the extent that the Union and/or its agents are failing to fully cooperate with the Monitor’s

  investigation, they are acting contrary to my express instructions and in derogation of my

  Constitutional authority as UAW Secretary-Treasurer. See UAW Constitution, Article 13, Section
         46
  14.”

                    4.     Rule 502(d) Order

              The Court’s entry of a Rule 502(d) Order in this case further supports the Monitor’s

  position. At the beginning of the monitorship, to alleviate the UAW’s concerns about waiver of

  the privilege, the UAW sought from the Court and obtained an Order pursuant to Federal Rule of

  Evidence 502(d) (“502(d) Order”) confirming that the UAW can provide the Monitor with

  privileged or other legally protected material without that production constituting a waiver of the

  privilege or protection. 47 That Order undercuts any assertion that waiving the privilege would be

  a legitimate concern of the Union for sharing documents with the Monitor during the course of an

  investigation, and underscores that the Monitor is inside that privilege.




  46
    Secretary-Treasurer, Comments to June 2024 Draft Monitor Report at 2-3.
  47
    Order Granting Defendant’s Unopposed Motion for Order Governing Disclosure of Privileged Materials,
  United States v. Int’l Union, United Automobile, Aerospace, and Agricultural Implement Workers of
  America (Aug. 11, 2021), Civil No. 20-cv-13293, ECF No. 40 (“502(d) Order”). Pursuant to the 502(d)
  Order, the UAW may identify when producing information what information it considers privileged, and
  the Monitor shall not disclose that information to any other person or entity without the written consent of
  the UAW or authorization of the Court, except insofar as necessary for the fulfillment of the Monitor’s
  duties.

                                                      19
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2335 Filed 06/10/24 Page 22 of 36




                 5.     Common Interest Agreement

         As another protective measure, the Union previously asked the Monitor to enter into a

  common interest agreement with the Union in order to shield privileged information provided to

  the Monitor from claims that a privilege had been waived. 48 Under that agreement, the UAW may

  designate materials as common interest materials, and the Monitor shall maintain the

  confidentiality of these materials except insofar as necessary for the fulfillment of the Monitor’s

  duties under the Consent Decree. 49

                 6.     DOJ’s Position

         The Monitor has also sought and obtained the views of DOJ in connection with the Union’s

  conduct. DOJ has stated the following:

         The Union’s position is making it difficult, if not impossible, for the Monitor to
         fulfill his mandate to remove fraud, corruption and illegality from within the UAW
         as required by Paragraph 22 of the Consent Decree. A continued refusal to produce
         relevant documents and information to the Monitor threatens to obstruct or
                                                           50
         otherwise interfere with the work of the Monitor.

  In addition, in response to the Union’s argument that the Monitor’s position is new (as discussed

  further below), DOJ provided the following response:

         As we said on our call last week and as we’ve noted since, we do have a great deal
         of concern about the scope and nature of the UAW’s privilege assertions here. We
         also do not think the Monitor’s position regarding privilege is anything new, as
         your e-mail implies. Indeed, we believe the Monitor has been wholly consistent
         over time that, when acting in his disciplinary/investigative capacity, he stands
         inside the union’s privilege and enjoys all of the rights and authorities of the IEB
         and Union President. Even if that were not the case, we believe that the Rule 502
                                                                                  51
         Order that is in place fully protects the interests of the union itself.




  48
     Common Interest Agreement (July 6, 2021).
  49
     Id.
  50
     Email from DOJ to Monitor (June 6, 2024).
  51
     Email from DOJ to UAW General Counsel (June 7, 2024).

                                                  20
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2336 Filed 06/10/24 Page 23 of 36




          DOJ also stated that the current pace of the Union’s production of information was

  “unacceptable,” and indicated that “the position that the UAW is taking is less than cooperative
                                                                                    52
  and appears to be impeding the Monitor’s efforts to fulfill his mandate.”              DOJ also expressed

  hope the “the UAW will recommit itself to timely production of material to assist the Monitor in
                    53
  doing his job.”

                    7.    Past Practice

          The past practice of the Monitor and the Union is consistent with the Monitor’s current

  pursuit of privileged materials to carry out his work under the Consent Decree.

          This is at least the fourth time since the beginning of the monitorship that the Monitor has

  sought privileged materials from the Union as part of carrying out his responsibilities under the

  Consent Decree. In each case, the Monitor has respected the importance of privilege concerns,

  and, in part to avoid unnecessary litigation before the Court, the Monitor has attempted to work

  with the Union in order to come to a reasonable accommodation about the Union’s concerns about
                                               54
  producing such materials to the Monitor.          And in each case the Union provided those materials,

  although in some instances only after the issuance of a public report.

          Most recently, in March 2022, the Monitor opened an investigation into whether senior

  Union officials, including the Union’s then-President, interfered with or obstructed the Monitor’s
                                                                                                   55
  work by failing to disclose alleged financial misconduct by multiple Union officials.                 In the

  course of that investigation, the Monitor sought privileged materials from the Union. The Monitor



  52
     Email from DOJ to UAW General Counsel (June 7, 2024).
  53
     Email from DOJ to UAW General Counsel (June 7, 2024).
  54
     See Rule 502(d) Order at 2.
  55
     See Monitor’s Third Status Report at 14-19. As noted below, that investigation remains open. The
  Monitor did not pursue an investigation of the underlying misconduct because it was subject to investigation
  by DOJ.

                                                       21
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2337 Filed 06/10/24 Page 24 of 36



                                                                     56
  took the same privilege position then (i.e., in August 2022 ) as he does now—namely, that the

  Monitor stands in the shoes of the Union for the purposes of privilege—based on the powers of a

  receiver that the Consent Decree confers on him and because he has the right and authority of the

  President and IEB with respect to disciplinary charges. In the context of that investigation, the

  UAW eventually produced all privileged documents that were requested. To be sure, the UAW

  initially withheld privileged documents and provided the Monitor a privilege log, but, following
                                                                                    57
  pushback by the Monitor, the Union produced the underlying documents.

          Further, the all-staff memorandum sent by the Union’s President in August 2023 and

  December 2023 demonstrates the consistency of the Monitor’s approach and the Union’s prior

  acceptance of it. The President’s memorandum was explicitly “based upon the understanding that
                                                                    58
  the Monitor stands precisely in the shoes of the Union.”                That language—which mirrors the

  wording used by the Monitor in his discussions with the Union in 2022—adopted the same stance

  taken by the Monitor, then and now, about the Monitor’s investigative authority and his ability to

  access privileged documents.




  56
     Meeting with then-UAW General Counsel (Aug. 17, 2022).
  57
     The Monitor also sought and obtained privileged documents in at least two other contexts. As reported
  in the Monitor’s Initial Status Report, to aid in his oversight of changes to the Union’s compliance regime,
  the Monitor sought production of a report prepared by an outside consultant to the Union that contained
  scores of recommendations for how the Union could address critical and severe weaknesses in its
  compliance environment, and over which the Union claimed privilege. See Monitor’s Initial Status Report
  at 77-84. After the Monitor sought and recommended the production of that report, as recounted in the
  Initial Status Report, the Union eventually reversed course and provided the report to the Monitor. See
  Monitor’s Third Status Report at 19. In addition, as described in the Monitor’s Third Status Report, the
  Union initially agreed to provide the Monitor the notes of the witness interviews the Union conducted in
  the course of the government investigation into Union misconduct, in order to enable his investigative work
  into historical misconduct. After initially breaking that agreement, as reported in the Monitor’s Third Status
  Report, the Monitor agreed to accept from the Union oral read-outs of the notes of those interviews. See
  Monitor’s Third Status Report at 11-13, 18.
  58
     See supra Part I(C).

                                                       22
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2338 Filed 06/10/24 Page 25 of 36




            Notwithstanding the foregoing, the Monitor has taken a collaborative posture with the

  UAW from the beginning of the monitorship, seeking to obtain the Union’s cooperation in

  conducting his investigative work, before resorting to more significant measures to enforce the

  Consent Decree.         The Monitor is continuing to engage with the UAW about its level of

  cooperation—e.g., the Union made its largest production of documents just days before this Report

  was filed—and is hopeful that the Union will return to its previously collaborative posture. Should

  that process not succeed, however, the Monitor may need to seek the Court’s intervention to

  enforce the Consent Decree.

  II.       ADDITIONAL INVESTIGATIVE ACTIVITIES

            As noted above, under the Consent Decree, the Monitor has the responsibility to investigate

  and address misconduct at the Union, including both past misconduct that may have not yet been

  addressed by DOJ’s criminal prosecutions, as well as misconduct that occurs during the

  monitorship. This Part of the Report discusses each type of investigation, and then describes other

  aspects of the Monitor’s investigative work.

            A.       Investigations of Alleged Misconduct Predating the Consent Decree

            As discussed in the Initial and Third Status Reports, the Monitor has investigated

  allegations of misconduct predating the Consent Decree at the UAW by current and retired UAW

  members, officers, and employees, as well as allegations of misconduct arising out of the UAW’s
                                           59
  relationships with certain vendors.           The Monitor has conducted a total of 20 such pre-Consent

  Decree investigations, all of which have now been resolved and closed. Almost all of these

  investigations involved allegations of potential misconduct that DOJ received during the course of

  its investigation into historical malfeasance within the UAW and which it referred to the Monitor



  59
       See Monitor’s Initial Status Report at 142, 146-47, 152; Monitor’s Third Status Report at 7.

                                                        23
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2339 Filed 06/10/24 Page 26 of 36



                                                            60
  for further investigation under the Consent Decree.            Other investigations of pre-Consent Decree

  misconduct involved allegations that the Monitor identified during the course of investigating the

  matters referred to him by DOJ.

         As set forth in more detail below, of the 20 pre-Consent Decree investigative matters, the

  Monitor pursued formal discipline in five (5) of the matters; referred one (1) matter to the UAW’s

  Ethics Officer; and closed twelve (12) of the matters without further action. The Monitor also

  requested reimbursement of funds from employees in two (2) of the matters.

                     1.     Disciplinary Action Taken

         Based on pre-Consent Decree misconduct the Monitor identified during his investigations,

  the Monitor pursued discipline in five (5) matters, including against four (4) former International

  UAW employees—Danny Trull, James Beardsley, Amy Loasching, and James Hardy—and one

  (1) Local Union official, Timothy Edmunds. Each of these individuals has now been expelled

  from UAW membership and designated as a “barred person” under Paragraph 20(e) of the Consent
            61
  Decree.        The circumstances of each of these cases is discussed in more detail below.

         •           Danny Trull. Trull is a former Region 5 Assistant Director. He retired
                     from the UAW in 2015. As described in the Monitor’s Third Status Report,
                     the Monitor pursued disciplinary action against Trull for his participation in
                     an embezzlement scheme related to master accounts with hotels for which
                                                                                                  62
                     former UAW President Dennis Williams, among others, was convicted.
                     Specifically, Trull abused his position as Assistant Director to authorize
                     approximately $344,000 in disbursements of UAW funds to pay for
                     personal expenditures, including cigars, private villas, high-end liquor and
                     meal expenses, and golf, for certain senior UAW officials, including
                              63
                     himself.    On July 22, 2022, the Adjudications Officer ordered Trull
                     permanently expelled and debarred from the UAW and the Monitor

  60
     See Monitor’s Initial Status Report at 142, 147.
  61
     See Consent Decree ¶¶ 20(e); 36.
  62
     See Monitor’s Initial Status Report at 29-31; Monitor’s Third Status Report at 10-11.
  63
     See Monitor’s Third Status Report at 10-11; Danny Trull Stipulation at 3-4 (July 22, 2022) (“Trull
  Stipulation”).

                                                       24
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2340 Filed 06/10/24 Page 27 of 36




                 designated him as a “barred person” under Paragraph 20(e) of the Consent
                        64                                                           65
                 Decree. The order is posted on the Adjudications Officer’s website.

         •       James Beardsley. Beardsley is a former Administrative Assistant to
                 former UAW Vice President Richard Shoemaker. Beardsley retired from
                 the UAW in 2004. The Monitor’s investigation found that Beardsley also
                 participated in the embezzlement scheme related to master accounts with
                 hotels described above and which involved former UAW President Dennis
                 Williams. The Monitor found that UAW officials improperly authorized
                 disbursement of, and Beardsley improperly accepted, approximately
                 $85,000 of UAW funds for Beardsley’s personal benefit, including for
                 lodging, golf green fees and merchandise, meals, liquor, and cigars. To
                 resolve the Monitor’s investigation, Beardsley entered into a stipulation
                 with the Monitor on November 7, 2023, in which Beardsley acknowledged
                 that he had permanently resigned his UAW membership and agreed to be
                 designated by the Monitor as a “barred person” under Paragraph 20(e) of
                                      66                                                 67
                 the Consent Decree. The stipulation is posted on the Monitor’s website.

         •       Amy Loasching. Loasching is a former Administrative Assistant to former
                 UAW President Dennis Williams. Loasching retired from the UAW in
                 2016. The Monitor’s investigation found that Loasching also participated
                 in the above-described embezzlement scheme related to master accounts
                 with hotels. The Monitor found evidence that UAW officials improperly
                 authorized disbursement of, and Loasching improperly accepted,
                 approximately $25,000 of UAW funds for Loasching’s personal benefit,
                 including for lodging, golf outings and apparel, and meals. The Monitor’s
                 investigation also found evidence that Loasching improperly directed UAW
                 Maintenance Department workers, whom she oversaw as part of her duties
                 as an Administrative Assistant, to perform work on her personal
                 condominium residence while on UAW time. In connection with the
                 investigation, the Monitor requested an interview with Loasching. Rather
                 than be interviewed by the Monitor, Loasching resigned her UAW
                 membership. On June 6, 2024, based on the investigation described above,
                 the Monitor designated Loasching as a “barred person” under Paragraph




  64
     Trull Stipulation at 5-6.
  65
      Court-Appointed UAW Adjudications Officer, Adjudications, UAW Adjudications Officer,
  www.uawadjudications.com/adjudications.
  66
     See James Beardsley Stipulation (Nov. 7, 2023).
  67
     Court-Appointed, Independent Monitor of the UAW, Disciplinary Action by the Monitor, UAW Monitor,
  www.uawmonitor.com/charges.

                                                  25
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2341 Filed 06/10/24 Page 28 of 36



                                                    68
                  20(e) of the Consent Decree.            The designation notice is posted on the
                                     69
                  Monitor’s website.

          •       James Hardy. Hardy is a former Assistant Director in the UAW-Chrysler
                  Department under former UAW Vice President General Holiefield. Hardy
                  retired from the UAW in 2013. The Monitor’s investigation found that
                  Hardy engaged in a job-selling scheme in which Hardy accepted thousands
                  of dollars in exchange for referring individuals for jobs at Chrysler. Based
                  on this misconduct, on June 5, 2015, Hardy entered into a pre-trial diversion
                  agreement with the government for misprision of the felony of wire fraud.
                  Because this matter did not clearly fit within the Monitor’s charging
                  authority for pre-Consent Decree misconduct, the Monitor referred
                  disciplinary charges against Hardy to the UAW for adjudication under
                                                        70
                  Paragraph 30 of the Consent Decree. To resolve these charges, on June 6,
                  2024, Hardy signed an agreement with the UAW to permanently resign his
                                      71
                  UAW membership.          On May 21, 2024, Hardy also entered into an
                  agreement with the Monitor in which Hardy agreed to be designated as a
                                                                                       72
                  “barred person” under Paragraph 20(e) of the Consent Decree.               The
                                                                                          73
                  Monitor’s agreement with Hardy is posted on the Monitor’s website.

          •       Timothy Edmunds. Edmunds is a former Financial Secretary-Treasurer of
                  UAW Local 412. The Monitor filed charges against Edmunds after he
                  pleaded guilty in federal court to embezzling approximately $2 million from
                  UAW Local 412 between 2011 and 2021 in a scheme involving personal
                  use of the UAW Local 412 debit card and transfer of funds from UAW
                                                                              74
                  Local 412 bank accounts to Edmunds’ personal accounts. On July 28,
                  2022, the Adjudications Officer ordered Edmunds permanently expelled
                  and debarred from the UAW and the Monitor designated him as a “barred




  68
     See Notice of Designation of Amy Loasching as a Barred Person (June 6, 2024).
  69
     Court-Appointed, Independent Monitor of the UAW, Disciplinary Action by the Monitor, UAW Monitor,
  www.uawmonitor.com/charges.
  70
     Paragraph 30 of the Consent Decree concerns the alternative resolution of disciplinary charges and allows
  the Monitor to refer disciplinary charges to the UAW for adjudication pursuant to the rules in the UAW
  Constitution.
  71
     Settlement Agreement on Article 31 Charges and Relinquishment of Membership (June 6, 2024).
  72
     See James Hardy Stipulation (May 21, 2024).
  73
     Court-Appointed, Independent Monitor of the UAW, Disciplinary Action by the Monitor, UAW Monitor,
  www.uawmonitor.com/charges.
  74
     See Monitor’s Third Status Report at 10-11. The Monitor’s charges against Edmunds are posted on the
  Monitor’s website. Court-Appointed, Independent Monitor of the UAW, Disciplinary Action by the
  Monitor, UAW Monitor, www.uawmonitor.com/charges.

                                                         26
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2342 Filed 06/10/24 Page 29 of 36



                                                                                75
                    person” under Paragraph 20(e) of the Consent Decree.             The order is posted
                                                            76
                    on the Adjudications Officer’s website.

                    2.       Referral to Ethics Officer

          In October 2021, the Monitor referred an investigation to Wilma Liebman, the UAW’s

  then-Ethics Officer, related to the acceptance of football tickets by Raymond Curry in 2017 when
                                  77
  he was a Regional Director.          The Monitor reported on the details of this investigation in the Initial
                   78
  Status Report.        On March 15, 2022, then-Ethics Officer Liebman issued a report with her findings

  and recommendations, including finding no evidence that Curry violated UAW policy or otherwise

  acted unethically in connection with the acceptance of these tickets, and the conclusion that the

  vendor policy enacted by the UAW in response to the Monitor’s recommendation was an
                                                                                                   79
  appropriate action to avoid the appearance or suggestion of impropriety in the future.

                    3.       Matters Closed Without Action

          The Monitor closed 12 matters because the Monitor found insufficient evidence to
                                                                                                        80
  adequately substantiate the allegations or otherwise warrant pursuing disciplinary action.


  75
     Timothy Edmunds Stipulation (July 28, 2022).
  76
       Court-Appointed UAW Adjudications Officer, Adjudications, UAW Adjudications Officer,
  www.uawadjudications.com/adjudications.
  77
     See Monitor’s Initial Status Report at 152-55. Liebman has since resigned from this position.
  78
     See Monitor’s Initial Status Report at 152-55.
  79
      Ethics Officer, Report Re Ray Curry’s Use of Sports Tickets/Investigative Findings and
  Recommendations (Mar. 15, 2022), available at https://uaw.org/wp-content/uploads/2023/11/uaw-ethics-
  officer-report-1.pdf.
  80
     In two additional investigations, the Monitor closed the investigation after seeking reimbursement from
  the relevant employee. An investigation by the Monitor found that, in May 2015, two International UAW
  employees accepted theme park tickets for their and their family members’ personal use that had been
  purchased using funds from the then-UAW-Chrysler National Training Center (“NTC”). One employee
  accepted tickets for either Disney World or Universal Studios in the amount of $217.26; the other accepted
  tickets for Disney World in the amount of $852. The Monitor requested that the employees reimburse the
  NTC in these amounts, which they did after the Monitor informed them that NTC funds had been used to
  purchase the tickets they received. The Monitor did not pursue disciplinary action in these matters because
  the Monitor’s investigation did not find evidence proving that they were aware at the time they accepted
  the tickets that the NTC had paid for them.

                                                         27
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2343 Filed 06/10/24 Page 30 of 36




          B.      Post-Consent Decree Investigations

         In addition to investigations of allegations of misconduct predating the Consent Decree,
                                                                                                  81
  the Monitor has investigated allegations of misconduct after the entry of the Consent Decree.        As

  detailed further below, the Monitor has opened 24 such investigations, and 7 of them remain open

  and active. In addition to conducting these investigations, the Monitor has worked with the Union

  to establish processes by which the Union itself can track and investigate complaints of misconduct

  on its own, at the International and Local level.

         Since the start of the monitorship, the Monitor has opened 24 investigations into allegations

  of post-Consent Decree misconduct. These investigations have involved allegations of financial

  misconduct, including misuse of funds, vendor kickbacks, and theft of time (i.e., payment for hours

  not worked), at both the International and Local Union level.

         Closed Investigations. Of these 24 investigations, the Monitor has resolved, closed, or

  paused 17 investigations, as follows:

         •       Referral to DOJ. The Monitor found sufficient evidence of criminal
                 misconduct and therefore referred two investigations to DOJ for further
                               82
                 investigation. The Monitor may reopen an investigation referred to DOJ
                 at the conclusion of DOJ’s investigation, but stands down during the
                 pendency of any criminal investigation so as to not inadvertently interfere
                 with that process.

         •       Referral to the UAW. The Monitor referred nine investigations into
                 potential misconduct at the Local Union level to the UAW. In these cases,
                 the Monitor initially opened investigations based on the nature of the
                 allegations, but later determined that these matters should be handled by the
                 UAW. For example, the Monitor opened an investigation into allegations
                 that a Local Union official failed to report over $100,000 in payments to a
                 vendor on the Local Union’s LM-2 reports, but during the course of the
                 investigation, the Monitor determined that the amount was much smaller.


  81
    See Monitor’s Initial Status Report at 45-48, 142-46.
  82
    Under Paragraph 60 of the Consent Decree, “[t]he Monitor may refer any matter to the United States
  Attorney for appropriate action.”

                                                      28
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2344 Filed 06/10/24 Page 31 of 36




                   Because of the relatively low dollar amount, the Monitor determined that
                   the allegations would best be reviewed by the UAW itself.

          •        Closed Without Action. The Monitor closed six investigations without
                   action because the investigations did not substantiate the allegations or
                   otherwise did not warrant pursuing disciplinary action.
                                                                                               83
          Open Investigations. Seven of the investigations remain open and active.                   Five of these

  investigations involve alleged misconduct by current and former International Union staff and
              84
  officials, including the three IEB members discussed above, while the other two involve alleged

  misconduct at the Local Union level.

           C.       Investigative Tools

          In carrying out his investigative responsibilities, the Monitor has continued to utilize the
                                                                                                    85
  investigative tools at the Monitor’s disposal described in the Monitor’s prior reports.                Those have

  included the following:

          •        Documents. The Monitor has reviewed thousands of documents
                   (privileged and non-privileged), including the repository of documents
                                                                  86
                   provided by DOJ from its closed investigations; financial account records
                               87
                   from DOJ; documents obtained directly from the UAW; documents



  83
     As evidenced by the closing of several investigations without action over the course of the monitorship,
  the opening of an investigation by the Monitor does not mean that there will be disciplinary charges
  associated with that investigation or that the individual whose conduct the Monitor is investigating has
  engaged in misconduct. There should be no presumption that the number of open investigations correlates
  to the number of eventual charges.
  84
     The Monitor has continued to investigate the conduct surrounding the Union’s prior failure to disclose
  an ongoing investigation into financial misconduct. As described in the Third Status Report, the Monitor
  learned that the Union had failed to disclose an investigation it was conducting into alleged financial
  misconduct by a senior leader despite a standing request to the Union that it disclose all such investigations,
  and that the Union affirmatively prevented the Monitor from learning of the investigation by excluding the
  Monitor from an IEB meeting during which the investigation was discussed. See Monitor’s Third Status
  Report at 14-17. The Monitor’s investigation of this matter is ongoing. The Monitor will provide a further
  update on this investigation in a subsequent report.
  85
     See Monitor’s Initial Status Report at 146-52; Monitor’s Third Status Report at 7-9.
  86
     See Monitor’s Initial Status Report at 146-47.
  87
     See Monitor’s Third Status Report at 7-8.

                                                        29
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2345 Filed 06/10/24 Page 32 of 36



                                                                 88
                 received as a result of third-party subpoenas; and documents submitted by
                 those reporting to the Monitor’s hotlines.

         •       Interviews. Since the Third Status Report, the Monitor has conducted
                 dozens of interviews related to alleged misconduct, including interviews
                 with International Union staff, Local Union members and officials, and non-
                 UAW third parties. In addition, the firm hired by the Monitor to assist with
                 the intake of new complaints to the Monitor’s hotlines has conducted dozens
                 of additional interviews in the course of that work.

         •       Hotlines. The Monitor’s team also continues to take in and follow up on
                 information that comes in through both the Monitor’s own hotlines and the
                                                                                89
                 UAW’s Ethics Hotline, staffed by Capgemini (formerly Exiger).

         •       Historical UAW Interviews. The Monitor also received summaries of the
                 UAW’s prior interviews of 102 witnesses related to pre-Consent Decree
                 conduct.

         •       Investigation Referrals by the UAW. Building on the progress noted in
                                                            90
                 the Third Status Report, since March 2022, the UAW has been regularly
                 notifying the Monitor of allegations of potential fraud, corruption, or
                 financial misconduct when the UAW becomes aware of such allegations.
                 The Monitor’s process is first to review any allegations of misconduct
                 relayed to the Monitor by the UAW to determine whether the Monitor
                 should investigate the allegations or whether the UAW may proceed with
                 its own investigation. If the Monitor refers the matter to the UAW to
                 investigate the allegations itself, which generally occurs when the
                 allegations involve relatively low dollar amounts and/or noncompliance
                 with internal rules, the UAW keeps the Monitor apprised of its investigative
                 work.




  88
     See Monitor’s Third Status Report at 8.
  89
     See Monitor’s Initial Status Report at 150-52; Monitor’s Third Status Report at 9. In September 2023,
  Capgemini acquired the division of Exiger that oversaw the UAW’s Ethics Hotline. Exiger, Capgemini
  Will Acquire its FCC Advisory Division as Exiger Continues to Accelerate and Focus the Scaling of its
  Third Party Risk and Supply Chain Management Technology Business (Sept. 8, 2023), available at
  https://www.exiger.com/perspectives/exiger-announces-capgemini-will-acquire-its-fcc-advisory-division-
  as-exiger-continues-to-accelerate-and-focus-the-scaling-of-its-third-party-risk-and-supply-chain-
  management-technology-business/.
  90
     See Monitor’s Third Status Report at 11-19.

                                                    30
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2346 Filed 06/10/24 Page 33 of 36




           D.      Other

          The Monitor has also developed processes to help the Union better conduct its own

  investigations, so that it is better equipped to handle allegations of misconduct, particularly once

  the monitorship period ends. This oversight takes several forms:

          •       In October 2023, the UAW began to formalize its internal tracking of
                  investigations by creating a spreadsheet of all internal UAW investigations,
                                              91
                  audits, administratorships, and other relevant matters, both at the
                  International and Local Union levels (“Investigations Tracker”). The
                  Monitor has access to the Investigations Tracker, which the UAW updates
                  regularly.

          •       The Monitor and UAW (including members of the Legal Department,
                  Compliance Department, President’s Office, and Secretary-Treasurer’s
                  Office) meet regularly to review updates to the Investigations Tracker and
                  to allow the Monitor to provide feedback to the UAW regarding the
                  investigative steps taken and remedial action proposed. The Monitor has
                  overseen a total of 76 investigative matters handled by the UAW, 37 of
                  which are currently open and 39 of which have been closed.

          •       The Monitor has also provided discrete feedback to the UAW on its
                  processes for investigations. For example, following an influx of time theft
                  allegations to the Monitor’s hotline and the UAW’s Ethics Hotline, the
                  Monitor developed a time theft investigation checklist with best practices
                  for investigating such allegations. To aid in the Union’s work, the Monitor
                  provided this checklist to the Union at the same time he referred to the UAW
                  six time theft investigations.

  These efforts have enabled the Monitor to oversee the work being done by the Union as relevant

  to the Monitor’s mandate, but also to assess, and suggest improvements to, the UAW’s own

  investigative process more generally, with the ultimate goal of helping the UAW to create a robust

  investigative process capable of handling its own investigations once the Monitor no longer



  91
    Article 12, section 3 of the UAW Constitution empowers the IEB to designate one of its members as an
  administrator over a Local Union, having “full authority over and supervision of all functions of the Local
  Union,” where necessary to “prevent or correct corruption of financial malpractice,” “assure the
  performance of collective bargaining agreements or other duties as a bargaining representative,” “restore
  democratic procedures within any chartered subordinate body,” or “otherwise assure carrying out the
  legitimate objectives of the International Union by such subordinate body.”

                                                      31
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2347 Filed 06/10/24 Page 34 of 36




  oversees the UAW. Additional information about the Monitor’s oversight of the Union’s own

  investigative function and the Union’s implementation of the Monitor’s investigations-related

  recommendations will be in the Monitor’s forthcoming report, discussed below.

         Many of the reports of alleged misconduct received by the Monitor involve alleged

  misconduct at the Local Union level. Most of the Local Union allegations that the Monitor

  receives involve relatively low dollar amounts and/or noncompliance with Local Union bylaws or

  other internal rules, rather than violations of federal law. The Monitor has determined that these

  allegations should generally be referred to the Union for investigation, with potential exceptions

  depending on the particular facts of each matter. The Monitor reached this conclusion for two

  related reasons. First, when the allegations involve relatively low dollar amounts, it is more

  efficient for the Union to develop its own processes for these allegations, rather than devoting

  Monitor resources. Second, because allegations of Local Union financial misconduct arise

  frequently, it is important that the Union develop and carry out best practices for investigating

  these matters on its own.

                                                ***

         Pursuant to Paragraph 58 of the Consent Decree, the foregoing Report constitutes the ninth

  report of the Monitor, Neil M. Barofsky.


  Date: June 10, 2024




                                                      ____________________________
                                                      Neil M. Barofsky, Monitor




                                                 32
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2348 Filed 06/10/24 Page 35 of 36




   Respectfully filed with the Court on behalf
   of the Monitor by counsel to the Monitor,



   _/s/ Michael W. Ross__________
   Michael W. Ross
   JENNER & BLOCK LLP
   1155 Avenue of the Americas
   New York, New York 10036
   (212) 891-1600 (t)
   (212) 891-1699 (f)




                                                 33
Case 2:20-cv-13293-DML-RSW ECF No. 124, PageID.2349 Filed 06/10/24 Page 36 of 36




                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 10, 2024, the foregoing Report was served electronically on

  all counsel of record via the CM/ECF system. In addition, pursuant to Paragraph 58 of the Consent

  Decree, the foregoing Report was served on consent by electronic mail upon the United States, the

  UAW’s International President, the International Executive Board, and designated counsel for

  UAW.

                                                      __/s/Michael W. Ross________
                                                      Michael W. Ross




                                                 1
